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9                      UNITED STATES DISTRICT COURT
10                    CENTRAL DISTRICT OF CALIFORNIA
11                               Western Division
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13   SECURITIES AND EXCHANGE                Case No. 2:19-mc-00023-DSF-JEM
     COMMISSION,
14
                Applicant,                  [PROPOSED] ORDER REGARDING
15                                          RESPONDENTS’ COMPLIANCE
          vs.                               WITH SEC SUBPOENAS AND THE
16                                          COURT’S FEBRUARY 21, 2019
                                            ORDER TO SHOW CAUSE
     CHRISTINA MARIE DANIELS, KIM
17   BENNETT, and VALENTINO
18   MOCA,

19              Respondents.
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1          This cause comes before the Court upon Applicant Securities and Exchange
2    Commission’s (“SEC[’s]”) Application for an Order to Show Cause and Application for
3    an Order Compelling Compliance with Investigative Subpoenas, filed on February 14,
4    2019 [Docket Entry (“Dkt.”) 1] (the “SEC Application”). The SEC and Respondents
5    Christina Marie Daniels, Kim Bennett, and Valentino Moca (collectively,
6    “Respondents”) have agreed to the terms of this Stipulated Order (the “Order”) to
7    resolve the issues raised in the SEC’s Application. Accordingly, it is hereby
8          ORDERED as follows:
9          1.     On a rolling basis forthwith, Ms. Daniels, Ms. Bennett, and Mr. Moca shall
10   begin to produce all documents in their possession, custody, or control responsive to the
11   SEC’s October 30, 2018 subpoenas to them in the investigation titled In the Matter of
12   OwnZones Media Network, Inc. (LA-04922).
13         2.     Ms. Daniels shall complete her production of all documents responsive to
14   the SEC subpoena to her by April 8, 2019.
15         3.      Ms. Bennett shall complete her production of all documents responsive to
16   Request Nos. 2 through 20 of the SEC subpoena to her by April 15, 2019.
17         4.     Mr. Moca shall complete his production of all documents responsive to
18   Request Nos. 2 through 20 of the SEC subpoena to him by April 22, 2019.
19         5.     Respondents shall appear for investigative testimony at the SEC’s Los
20   Angeles Regional Office at 444 South Flower Street, Suite 900, Los Angeles, California
21   90071, at a mutually agreeable time and date, but in no event later than May 13, 2019.
22         6.      If counsel for Respondents determines that any Respondent received funds
23   into his or her bank or brokerage accounts from other individuals or entities for purposes
24   of investing in OwnZones, it will promptly inform the SEC staff and produce to the SEC
25   prior to that Respondent’s investigative testimony all relevant banking information
26   related to those fund transfers.
27         7.     If counsel for Respondents determines that any Respondent’s bank accounts
28   received any fund transfers or payments of any form from OwnZones or any of its

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1    officers or employees, or from anyone compensating that Respondent for raising money
2    for OwnZones, it will promptly inform the SEC staff and produce to the SEC prior to
3    that Respondent’s investigative testimony all relevant banking information related to
4    those fund transfers.
5          8.     To the extent that the SEC staff determines that it requires further
6    production of documents from Ms. Bennett or Mr. Moca responsive to Request No. 1 in
7    the SEC subpoenas to them, it shall meet and confer with counsel for Ms. Bennett and
8    Mr. Moca about a resolution. If they cannot reach a resolution, then the SEC may move
9    to compel compliance with Request No. 1, with any opposition from Ms. Bennett or Mr.
10   Moca due within seven calendar days of the SEC’s motion, and the SEC’s reply due
11   seven calendar days after the opposition.
12         9.     The March 25, 2019 hearing on the Court’s February 21, 2019 Order to
13   Show Cause [Dkt. 3] (the “OSC Order”) is hereby VACATED.
14         10.    The Court reserves jurisdiction to enforce the terms of this Order.
15
16   Dated: ____________, 2019
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18                                          ______________________________
                                            UNITED STATES MAGISTRATE JUDGE
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                                            JOHN E. MCDERMOTT
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1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5          On March 11, 2019 I caused to be served the document entitled [PROPOSED]
     ORDER REGARDING RESPONDENTS’ COMPLIANCE WITH SEC
6    SUBPOENAS AND THE COURT’S FEBRUARY 21, 2019 ORDER TO SHOW
     CAUSE on all the parties to this action addressed as stated on the attached service
7    list:
8    ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
     collection and mailing today following ordinary business practices. I am readily
9    familiar with this agency’s practice for collection and processing of correspondence
     for mailing; such correspondence would be deposited with the U.S. Postal Service on
10   the same day in the ordinary course of business.
11         ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
     which I personally deposited with the U.S. Postal Service. Each such envelope was
12   deposited with the U.S. Postal Service at Los Angeles, California, with first class
     postage thereon fully prepaid.
13
           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
14   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
15
     ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
16   office of the addressee as stated on the attached service list.
17   ☒     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
18   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
19
     ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
20   the electronic mail address as stated on the attached service list.
21   ☒    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
22   the CM/ECF system.
23   ☐     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
24
           I declare under penalty of perjury that the foregoing is true and correct.
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     Date: March 11, 2019                       /s/ Christopher A. Nowlin
27                                              CHRISTOPHER A. NOWLIN
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1                         SEC v. Christina Marie Daniels, et al.
               United States District Court—Central District of California
2                          Case No. 2:19-mc-00023-DSF-JEM
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